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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

 IN RE:

                                                         Case No. 24-04051-5-PWM
 JOHN ADAM KOZAK,
                                                         Chapter 7
                        Debtor


  NOTICE OF APPEARANCE, REQUEST FOR MATRIX ENTRY AND REQUEST FOR
                 SERVICE OF NOTICES AND DOCUMENTS

         PLEASE TAKE NOTICE that, pursuant to Bankruptcy Rules 2002, 9007, and 9010, the
 undersigned is appearing on behalf of Karen P. Ayers and Dwayne F. Ayers (“Creditors”), a
 creditor in this case. It is hereby requested as follows:

        1.      Matrix/Roster. The undersigned requests that an entry be made on the electronic
 matrix/roster of creditors and interested parties to receive notice in this case maintained by the
 Clerk of the United States Bankruptcy Court.

         2.      Receipt of Notices. The undersigned requests he be served with all documents
 filed with the court and all notices which the court and/or other parties are required to serve. This
 request includes all papers, reports, orders, notices, copies of applications, motions, petitions,
 disclosure statements, plans of readjustment of debts or reorganization, pleadings appendices,
 exhibits requests or demands, whether formal or informal, whether written or oral and whether
 transmitted or conveyed by mail, electronic mail, courier service, delivery service, telephone,
 facsimile, telegraph, telex, or otherwise.

        3.      No Express or Implied Acceptance of Service. This Notice of Appearance does
 not give express or implied consent by the undersigned or Womble Bond Dickinson (US) LLP to
 accept service of process of any action commenced under Rule 7001 of the Federal Rules of
 Bankruptcy Procedure.

        4.      No Waiver of Rights. This Notice of Appearance shall not be deemed or
 construed to be a waiver of the rights of the Creditor of the following:

                a. To have final orders in noncore matters entered only after de novo review by a
                   United States District Judge;

                b. To trial by jury in any case or proceeding related to this case;
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              c. To have the United States District Court withdraw the reference in any matter
                 subject to mandatory or discretionary withdrawal or to seek abstention by the
                 United States Bankruptcy Court in any matter; or

              d. To any other rights, remedies, claims, actions, defenses, setoffs, or
                 recoupments to which the Creditor is or may be entitled, in law or in equity,
                 all of which are expressly reserved.

       Dated: January 24, 2025
                                           WOMBLE BOND DICKINSON (US) LLP



                                   By:     /s/ James S. Livermon, III
                                           James S. Livermon, III
                                           State Bar No. 26492
                                           555 Fayetteville Street, Suite 1100
                                           Raleigh, NC 27601
                                           Telephone: (919) 755-2148
                                           Facsimile: (919) 755-6048

                                           Attorneys for Karen P. Ayers and Dwayne F. Ayers
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies under penalty of perjury that he is over eighteen (18)
 years of age and that a copy of the

    NOTICE OF APPEARANCE, REQUEST FOR MATRIX ENTRY AND REQUEST FOR
                   SERVICE OF NOTICES AND DOCUMENTS

 was this day served upon the below-named persons, parties, and/or counsel by depositing a copy
 thereof in the United States Mail, First Class, postage prepaid, to the addresses shown below, or
 by CM/ECF:

                              John Adam Kozak
                              308 Arborhill Lane
                              Holly Springs, NC 27540

                              Travis Sasser, Esq.
                              Attorneys for Debtor
                              Via CM/ECF

                              Brian Behr, Esq.
                              Bankruptcy Administrator
                              Via CM/ECF

                              George F. Sanderson, Esq.
                              Trustee
                              Via CM/ECF

 Dated: January 24, 2025
                                             WOMBLE BOND DICKINSON (US) LLP



                                      By:    /s/ James S. Livermon, III
                                             James S. Livermon, III
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                                             Facsimile: (919) 755-6048

                                             Attorneys for Karen P. Ayers and Dwayne F. Ayers
